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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
FRANCHISE GROUP, INC. et al., Case No. 24-12480 (JTD)
Debtors, (Jointly Administered)
CERTIFICATE OF SERVICE

I, Laurie Heggan, depose and say that I am employed by Reliable Companies who provided
noticing services in the above-captioned case.

On December 3, 2024, at my direction and under my supervision, employees of Reliable
Companies caused to be served the following documents by the method indicated on the service
list attached hereto as Exhibit A:

12/03/2024

299

Objection (Objection of the Ad Hoc Group of First Lien Lenders to the
Motion of the Ad Hoc Group of Freedom Lenders for Entry of an Order (1)
Terminating Exclusivity in the HoldCo Debtors Cases, (II) Lifting the
Automatic Stay in the HoldCo Debtors' Cases, or (II) Appointing a Chapter
11 Trustee for the HoldCo Debtors) (related document(s)192) Filed by Ad
Hoc Group of First Lien Lenders (McGuire, Matthew) (Entered:
12/03/2024)

12/03/2024

302

Declaration in Support (Declaration of Daniel A. Fliman in Support of
Objection of the Ad Hoc Group of First Lien Lenders to the Motion of the
Ad Hoc Group of Freedom Lenders for Entry of an Order (I) Terminating
Exclusivity in the HoldCo Debtors' Cases, (II) Lifting the Automatic Stay in
the HoldCo Debtors' Cases, or (IIT) Appointing a Chapter 11 Trustee for the
HoldCo Debtors) (related document(s)192) Filed by Ad Hoc Group of First
Lien Lenders. (Attachments: # 1 Exhibit A #2 Exhibit B #3 Exhibit C #4
Exhibit D # 5 Exhibit E # 6 Exhibit F #7 Exhibit G # 8 Exhibit H #9
Exhibit I) (McGuire, Matthew) (Entered: 12/03/2024)

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Joinder of Ad Hoc Group of First Lien Lenders in the Debtors’ Objection to
the Ad Hoc Group of Freedom Lenders' Emergency Motion for Entry of an
Order (1) Adjourning the Second Day Hearing Set for December 10, 2024,
(II) Extending the Objection Deadlines in Connection with the Second Day
Hearing and (II) Granting Related Relief (related document(s)194, 297)
Filed by Ad Hoc Group of First Lien Lenders. (McGuire, Matthew)
(Entered: 12/03/2024)

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Dated: December 4, 2024

/s/ Laurie Heggan

Laurie Heggan

Reliable Companies

1007 North Orange Street, Suite 110
Wilmington, DE 19801

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EXHIBIT A
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VIA ELECTRONIC MAIL

Perdue, Brandon, Fielder, Collins and Mott, L.L.P.

Attn: Alysia Cordova
P.O. Box 9132
Amarillo, TX 79105
acordova@pbfcm.com
amabkr@pbfcm.com

VIA ELECTRONIC MAIL

Latham & Watkins LLP
Attn: Andrew Sorkin
555 Eleventh Street NW
Suite 1000
Washington, DC 20004
andrew.sorkin@lw.com

VIA ELECTRONIC MAIL

Securities & Exchange Commission - NY Office

Attn: Bankruptcy Department
Brookfield Place
200 Vesey Street, Suite 400
New York, NY 10281-1022
bankruptcynoticeschr@sec.gov
nyrobankruptcy@sec.gov

VIA ELECTRONIC MAIL

Meyers, Rodbell & Rosenbaum, P.A.
Attn: Nicole C. Kenworthy
6801 Kenilworth Avenue, Suite 400
Riverdale, MD 20737-1385
bdept@mrrlaw.net

VIA ELECTRONIC MAIL

Brookfield Properties Retail Inc
Attn: Kristen N. Pate
350 N. Orleans Street
Suite 300
Chicago, IL 60654-1607
bk@bpretail.com

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VIA ELECTRONIC MAIL

Clark Hill PLC
Attn: Audrey L. Hornisher
901 Main Street, Suite 6000
Dallas, TX 75202
ahornisher@clarkhill.com

VIA ELECTRONIC MAIL

Linebarger Goggan Blair & Sampson, LLP
Attn: Diane W. Sanders
PO Box 17428
Austin, TX 78760-7428
austin.bankruptcy@lgbs.com

VIA ELECTRONIC MAIL

Seward & Kissel LLP
Attn: Gregg Bateman, Sagar Patel, Michael Danenberg, John R.
Ashmead, Gregg S. Bateman, Andrew J. Matott

One Battery Park Plaza
New York, NY 10004
bateman@sewkis.com

patel@sewkis.com

danenberg@sewkis.com
ashmead@sewkis.com
bateman@sewkis.com

VIA ELECTRONIC MAIL

Farnan LLP
Attn: Brian E. Farnan, Michael J. Farnan
919 North Market Street
12th Floor
Wilmington, DE 19801
bfarnan@farnanlaw.com
mfarnan@farnanlaw.com

VIA ELECTRONIC MAIL

White & Case LLP
Attn: Bojan Guzina
111 S. Wacker Dr., Suite 5100
Chicago, IL 60606
bojan.guzina@whitecase.com
Case 24-12480-JTD Doc 304 Filed 12/03/24 Page5of14

VIA ELECTRONIC MAIL VIA ELECTRONIC MAIL
Pachulski Stang Ziehl & Jones LLP Cozen O'Connor
Attn: Bradford J. Sandler, Colin R. Robinson Attn: Brian L. Shaw
919 North Market Street, 17th Floor 123 North Wacker Drive
P.O. Box 8705 Suite 1800
Wilmington, DE 19899-8705 Chicago, IL 60606
bsandler@pszjlaw.com bshaw@cozen.com

crobinson@pszjlaw.com

VIA ELECTRONIC MAIL VIA ELECTRONIC MAIL
Cowles & Thompson, P.C. Texas Attorney General's Office
Attn: William L. Siegel Attn: Christopher S. Murphy, Assistant Attorney General
901 Main Street, Suite 3900 Bankruptcy & Collections Division
Dallas, TX 75202 P.O. Box 12548
bsiegel@cowlesthompson.com Austin, TX 78711-2548

christopher.murphy@oag.texas.gov

VIA ELECTRONIC MAIL VIA ELECTRONIC MAIL
Morris James LLP Kirkland & Ellis LLP Kirkland & Ellis International LLP
Attn: Carl N. Kunz, II, Christopher M. Donnelly Attn: Connor K. Casas
500 Delaware Avenue, Suite 1500 333 West Wolf Point Plaza
Wilmington, DE 19801 Chicago, IL 60654
ckunz@morrisjames.com connor.casas@kirkland.com

cdonnelly@morrisjames.com

VIA ELECTRONIC MAIL VIA ELECTRONIC MAIL
White & Case LLP Cross & Simon, LLC
Attn: J. Christopher Shore, Samuel P. Hershey, Andrew Zatz, Erin Attn: Christopher P. Simon
Smith, Brett Bakemeyer 1105 North Market Street, Suite 901
1221 Avenue of the Americas Wilmington, DE 19801
New York, NY 10020-1095 csimon@crosslaw.com

cshore@whitecase.com
sam.hershey@whitecase.com
azatz@whitecase.com
erin.smith@whitecase.com
brett.bakemeyer@whitecase.com

VIA ELECTRONIC MAIL VIA ELECTRONIC MAIL
Swanson, Martin & Bell, LLP Linebarger Goggan Blair & Sampson, LLP
Attn: Charles S. Stahl, Jr. Attn: John K. Turner
2525 Cabot Drive 2777 N. Stemmons Freeway
Suite 204 Suite 1000
Lisle, IL 60532 Dallas, TX 75207

cstahl@smbtrials.com dallas bankruptcy@lgbs.com
Case 24-12480-JTD Doc 304 Filed 12/03/24 Page 6of14

VIA ELECTRONIC MAIL

Linebarger Goggan Blair & Sampson, LLP
Attn: John Kendrick Turner
3500 Maple Avenue
Suite 800
Dallas, TX 75219
dallas. bankruptcy@lgbs.com

VIA ELECTRONIC MAIL

Klehr Harrison Harvey Branzburg LLP
Attn: Domenic E. Pacitti
919 N. Market Street, Suite 1000
Wilmington, DE 19801-3062
dpacitti@klehr.com

VIA ELECTRONIC MAIL

Willkie Farr & Gallagher LLP
Attn: Debra M. Sinclair, Matthew A. Feldman, Betsy L. Feldman,
Joseph R. Brandt
787 Seventh Avenue
New York, NY 10019
dsinclair@willkie.com
mfeldman@willkie.com
bfeldman@willkie.com
jbrandt@willkie.com

VIA ELECTRONIC MAIL

Shipman & Goodwin LLP
Attn: Eric S. Goldstein
One Constitution Plaza
Hartford, CT 06103-1919
egoldstein@goodwin.com
bankruptcy@goodwin.com
bankruptcyparalegal@goodwin.com

VIA ELECTRONIC MAIL

Bayard, P.A.

Attn: Ericka F. Johnson
600 N. Market Street, Suite 400
Wilmington, DE 19801
ejohnson@bayardlaw.com

VIA ELECTRONIC MAIL

Chipman Brown Cicero & Cole, LLP
Attn: Mark L. Desgrosseilliers
Hercules Plaza
1313 North Market St, Suite 5400
Wilmington, DE 19801
desgross@chipmanbrown.com

VIA ELECTRONIC MAIL

Sirlin Lesser & Benson, P.C.
Attn: Dana S. Plon
123 South Broad Street, Suite 2100
Philadelphia, PA 19109
dplon@sirlinlaw.com

VIA ELECTRONIC MAIL

Perdue, Brandon, Fielder, Collins & Mott, L.L.P
Attn: Hiram Gutierrez
P.O. Box 2916
McAllen, TX 78502
edinburgbankruptcy@pbfcm.com

VIA ELECTRONIC MAIL

Polsinelli PC
Attn: Elisa Hyder
Three Logan Square
1717 Arch Street, Suite 2800
Philadelphia, PA 19103
ehyder@polsinelli.com

VIA ELECTRONIC MAIL

Young Conaway Stargatt & Taylor, LLP
Attn: Edmon L. Morton, Matthew B. Lunn, Allison S. Mielke,
Shella Borovinskaya
Rodney Square
1000 N. King Street
Wilmington, DE 19801
emorton@ycst.com
mlunn@ycst.com
amielke@ycst.com
sborovinskaya@ycst.com
Case 24-12480-JTD
VIA ELECTRONIC MAIL

Frost Brown Todd LLP
Attn: Erin P. Severini, Joy D. Kleisinger
3300 Great American Tower
301 East Fourth Street
Cincinnati, OH 45202
eseverini@fbtlaw.com
jkleisinger@fbtlaw.com

VIA ELECTRONIC MAIL

Ballard Spahr LLP

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VIA ELECTRONIC MAIL

Burr & Forman LLP
Attn: J. Ellsworth Summers, Jr., Dana L. Robbins
50 North Laura Street, Suite 3000
Jacksonville, FL 32202
esummers@burr.com
drobbins@burr.com

VIA ELECTRONIC MAIL

Linebarger Goggan Blair & Sampson, LLP

Attn: Leslie C. Heilman, Laurel D. Roglen, Margaret A. Vesper Attn: Tara L. Grundemeier

919 North Market Street
11th Floor
Wilmington, DE 19801
heilmani@ballardspahr.com
roglenl@ballardspahr.com
vesperm@ballardspahr.com

VIA ELECTRONIC MAIL

Latham & Watkins LLP
Attn: James Kstanes, Timothy Beau Parker
330 N Wabash Avenue
Suite 2800
Chicago, IL 60611
james.ktsanes@lw.com
beau.parker@lw.com

VIA ELECTRONIC MAIL

Mirick, O’ Connell, DeMallie & Lougee, LLP
Attn: Joseph H. Baldiga, Shannah L. Colbert
1800 West Park Dr., Suite 400
Westborough, MA 01581
jbaldiga@mirickoconnell.com
scolbert@mirickoconnell.com

VIA ELECTRONIC MAIL

Burr & Forman LLP
Attn: J. Cory Falgowski
222 Delaware Avenue, Suite 1030
Wilmington, DE 19801
jfalgowski@burr.com

PO Box 3064
Houston, TX 77253-3064
houston_bankruptcy@lgbs.com

VIA ELECTRONIC MAIL

Paul Hastings LLP
Attn: Jayme Goldstein, Jeremy Evans, Isaac Sasson, Daniel Fliman
200 Park Avenue
New York, NY 10166
jaymegoldstein@paulhastings.com
jeremyevans@paulhastings.com
isaacsasson@paulhastings.com
danfliman@paulhastings.com

VIA ELECTRONIC MAIL

Latham & Watkins LLP
Attn: Jennifer Ezring, James Ktsanes, Andrew Sorkin
1271 Avenue of the Americas
New York, NY 10020
Jennifer. Ezring@lw.com
James.Ktsanes@lw.com
andrew.sorkin@Iw.com

VIA ELECTRONIC MAIL

Burr & Forman LLP
Attn: James H. Haithcock, IT]
420 N. 20th Street, Suite 3400

Birmingham, AL 35203
jhaithcock@burr.com
Case 24-12480-JTD Doc 304 Filed 12/03/24 Page 8 of 14

VIA ELECTRONIC MAIL

Cook, Vetter, Doerhoff & Landwehr, P.C.
Attn: John D. Landwehr
231 Madison Street
Jefferson City, MO 65101
jlandwehr@cvdl net

VIA ELECTRONIC MAIL

McCreary, Veselka, Bragg, & Allen, P.C.
Attn: Julie Anne Parsons
700 Jeffrey Way, Suite 100
Round Rock, TX 78665
jparsons@mvbalaw.com

VIA ELECTRONIC MAIL

Tayman Lane Chaverri LLP
Attn: Jeffrey Rhodes
2001 L Street, NW, Suite 500
Washington, DC 20036
jrhodes@tlclawfirm.com

VIA ELECTRONIC MAIL

Quarles & Brady LLP
Attn: L. Kate Mason
411 E. Wisconsin Avenue
Suite 2400
Milwaukee, WI 53202
Katie.Mason@quarles.com

VIA ELECTRONIC MAIL

Kelley Drye & Warren LLP
Attn: Robert L. LeHane, Jennifer D. Raviele, Allison Selick
3 World Trade Center
175 Greenwich Street
New York, NY 10007
KDWBankruptcyDepartment@kelleydrye.com
rlehane@kelleydrye.com
jraviele@kelleydrye.com
aselick@kelleydrye.com

VIA ELECTRONIC MAIL

Stark & Stark, P.C.
Attn: Joseph H. Lemkin
PO Box 5315
Princeton, NJ 08543
jlemkin@stark-stark.com

VIA ELECTRONIC MAIL

McCreary, Veselka, Bragg, & Allen, P.C.
Attn: Julie Anne Parsons
P.O. Box 1269
Round Rock, TX 78680-1269
jparsons@mvbalaw.com

VIA ELECTRONIC MAIL

Potter Anderson & Corroon LLP
Attn: Jeremy W. Ryan, Brett M. Haywood, Ethan H. Sulik
1313 N. Market Street
6th Floor
Wilmington, DE 19801
jryan@potteranderson.com
bhaywood@potteranderson.com
esulik@potteranderson.com

VIA ELECTRONIC MAIL

Benesch Friedlander Coplan & Aronoff LLP
Attn: Kevin M. Capuzzi, Juan E. Martinez
1313 North Market Street, Suite 1201
Wilmington, DE 19801-6101
kcapuzzi@beneschlaw.com
jmartinez@beneschlaw.com

VIA ELECTRONIC MAIL

Barnes & Thornburg LLP
Attn: Kevin G. Collins
222 Delaware Avenue, Suite 1200
Wilmington, DE 19801
kevin.collins@btlaw.com
Case 24-12480-JTD Doc 304 Filed 12/03/24 Page 9of14

VIA ELECTRONIC MAIL

Barnes & Thornburg LLP
Attn: Kevin G. Collins, Mark R. Owens
222 Delaware Avenue, Suite 1200
Wilmington, DE 19801
kevin.collins@btlaw.com
mark.owens@btlaw.com

VIA ELECTRONIC MAIL

Barclay Damon LLP
Attn: Kevin M. Newman
Barclay Damon Tower
125 East Jefferson Street
Syracuse, NY 13202
knewman@barclaydamon.com

VIA ELECTRONIC MAIL

Kurtzman Steady LLC
Attn: Jeffrey Kurtzman
101 N. Washington Avenue
Suite 4A
Margate, NJ 08402
kurtzman@kurtzmansteady.com

VIA ELECTRONIC MAIL

Ken Burton, Jr., Manatee County Tax Collector
Attn: Michelle Leeson, Paralegal, Collections Specialist, CFCA
1001 3rd Ave W, Suite 240
Brandenton, FL 34205-7863
legal@taxcollector.com

VIA ELECTRONIC MAIL

Thompson Hine LLP
Attn: Louis F Solimine
312 Walnut Street
Suite 2000
Cincinnati, OH 45202-4029
Louis.Solimine@ThompsonHine.com

VIA ELECTRONIC MAIL

Clark Hill PLC
Attn: Karen M. Grivner
824 N. Market Street, Suite 710
Wilmington, DE 19801
kgrivner@clarkhill.com

VIA ELECTRONIC MAIL

Richards Layton & Finger PA
Attn: John H. Knight, Amanda R. Steele, Alexander R. Steiger
One Rodney Square

920 North King Street

Wilmington, DE 19801
knight@rlf.com
steele@rlf.com
steiger@rlf.com

VIA ELECTRONIC MAIL

Landis Rath & Cobb LLP
Attn: Adam G. Landis, Matt McGuire, Elizabeth Rogers
919 Market Street Suite 1800
P.O. Box 2087

Wilmington, DE 19801
landis@Irclaw.com
meguire@lrclaw.com
erogers@Irclaw.com

VIA ELECTRONIC MAIL

Perdue, Brandon, Fielder, Collins & Mott, L.L.P
Attn: Laura J. Monroe
PO Box 817
Lubbock, TX 79408
Imbkr@pbfcm.com

VIA ELECTRONIC MAIL

Cozen O'Connor
Attn: Marla S. Benedek, Kaan Ekiner
1201 N. Market Street
Suite 1001
Wilmington, DE 19801
mbenedek@cozen.com
kekiner@cozen.com
Case 24-12480-JTD

VIA ELECTRONIC MAIL

Klehr Harrison Harvey Branzburg LLP
Attn: Morton R. Branzburg
1835 Market Street, Suite 1400
Philadelphia, PA 19103
mbranzburg@klehr.com

VIA ELECTRONIC MAIL

Faegre Drinker Biddle & Reath LLP
Attn: Michael T. Gustafson
320 South Canal Street, Suite 3300
Chicago, IL 60606
mike. gustafson@faegredrinker.com

VIA ELECTRONIC MAIL

Saul Ewing LLP
Attn: Monique B. DiSabatino
1201 North Market Street, Suite 2300
P.O. Box 1266
Wilmington, DE 19899
monique.disabatino@saul.com

VIA ELECTRONIC MAIL

Barclay Damon LLP
Attn: Niclas A. Ferland
545 Long Wharf Drive

Ninth Floor
New Haven, CT 06511
nferland@barclaydamon.com

VIA ELECTRONIC MAIL

Faegre Drinker Biddle & Reath LLP
Attn: Patrick A. Jackson
222 Delaware Avenue, Suite 1410
Wilmington, DE 19801
patrick.jackson@faegredrinker.com

Doc 304 Filed 12/03/24 Page 10 of 14
VIA ELECTRONIC MAIL

Lowenstein Sandler LLP
Attn: Michael S. Etkin, Michael Papandrea
One Lowenstein Drive
Roseland, NJ 07068
metkin@lowenstein.com
mpapandrea@lowenstein.com

VIA ELECTRONIC MAIL

Blank Rome LLP

Attn: Michael B. Schaedle, Stanley B. Tarr, Jordan L. Williams

1201 N. Market Street, Suite 800
Wilmington, DE 19801
mike.schaedle@blankrome.com
stanley.tarr@blankrome.com
jordan. williams@blankrome.com

VIA ELECTRONIC MAIL

Thompson O'Brien Kappier & Nasuti PC
Attn: Michael B. Pugh
2 Sun Court, Suite 400
Peachtree Corners, GA 30092
mpugh@tokn.com

VIA ELECTRONIC MAIL

Paul Hastings LLP
Attn: Nicholas A. Bassett
2050 M Street NW
Washington, DC 20036
nicholasbassett@paulhastings.com

VIA ELECTRONIC MAIL

Holland & Knight LLP
Attn: Phillip W. Nelson
150 N. Riverside Plaza, Suite 2700
Chicago, IL 60606
phillip.nelson@hklaw.com
Case 24-12480-JTD Doc 304 Filed 12/03/24 Page 11 of 14

VIA ELECTRONIC MAIL

Pachulski Stang Zieh! & Jones LLP

Attn: Robert J. Feinstein, Alan J. Kornfeld, Theodore S. Heckel

780 Third Avenue, 34th Floor
New York, NY 10017
rfeinstein@pszjlaw.com
akornfeld@pszjlaw.com
theckel@pszjlaw.com

VIA ELECTRONIC MAIL

Simon Property Group, Inc.
Attn: Ronald M. Tucker
225 West Washington Street
Indianapolis, IN 46204
rtucker@simon.com

VIA ELECTRONIC MAIL

Buchalter, A Professional Corporation
Attn: Shawn M. Christianson
425 Market Street, Suite 2900

San Francisco, CA 94105-3493
schristianson@buchalter.com

VIA ELECTRONIC MAIL

Securities & Exchange Commission - Philadelphia Office

Attn: Bankruptcy Department
One Penn Center
1617 JFK Blvd, Suite 520
Philadelphia, PA 19103
secbankruptcy@sec.gov

VIA ELECTRONIC MAIL

Kroll Restructuring Administration LLC
Attn: Herb Baer, Christine Porter, Jessica Berman
1 World Trade Center
31st Floor
New York, NY 10007
serviceqa@ra.kroll.com
FRGTeam@ra.kroll.com

VIA ELECTRONIC MAIL

Monzack Mersky and Browder, P.A.
Attn: Rachel B. Mersky
1201 N. Orange Street, Suite 400
Wilmington, DE 19801
rmersky@monlaw.com

VIA ELECTRONIC MAIL

Linebarger Goggan Blair & Sampson, LLP
Attn: Don Stecker
112 E. Pecan Street, Suite 2200
San Antonio, TX 78205
sanantonio.bankruptcy@lgbs.com

VIA ELECTRONIC MAIL

Blakeley LC
Attn: Scott Blakeley
530 Technology Drive
Suite 100
Irvine, CA 92618
SEB@BlakeleyLC.com

VIA ELECTRONIC MAIL

US. Securities and Exchange Commission - Headquarters

Secretary of the Treasury
100 F. Street NE
Washington, DC 20549
secbankruptcy@sec.gov

VIA ELECTRONIC MAIL

Barclay Damon LLP
Attn: Scott L. Fleischer
1270 Avenue of the Americas
Suite 501
New York, NY 10020
sfleischer@barclaydamon.com
Case 24-12480-JTD
VIA ELECTRONIC MAIL

Riemer & Braunstein LLP
Attn: Steven Fox
Times Square Tower Suite 2506
Seven Times Square
New York, NY 10036
sfox@reimerlaw.com

VIA ELECTRONIC MAIL

Tydings & Rosenberg LLP
Attn: Stephen B. Gerald
200 Continental Drive, Suite 401
Newark, DE 19713
sgerald@tydings.com

VIA ELECTRONIC MAIL

Law Office of Susan E. Kaufman
Attn: Susan E. Kaufan
919 N. Market Street, Suite 460
Wilmington, DE 19801
skaufman@skaufmanlaw.com

VIA ELECTRONIC MAIL

Dentons Sirote PC
Attn: Stephen B. Porterfield
2311 Highland Avenue South
P.O. Box 55727
Birmingham, AL 35255-5727
stephen.porterfield@dentons.com

VIA ELECTRONIC MAIL

Streusand, Landon Ozburn & Lemmon, LLP
Attn: Sabrina L. Streusand
1801 S. MoPac Expressway, Suite 320
Austin, TX 78746
streusand@slolip.com

Doc 304 Filed 12/03/24 Page 12 of 14
VIA ELECTRONIC MAIL

Perdue, Brandon, Fielder, Collins & Mott, L.L.P
Attn: Sergio E. Garcia
3301 Northland Drive
Suite 505
Austin, TX 78731
sgarcia@pbfcm.com

VIA ELECTRONIC MAIL

Polsinelli PC
Attn: Shanti M. Katona, Katherine M. Devanney
222 Delaware Avenue, Suite 1101
Wilmington, DE 19801
skatona@polsinelli.com
kdevanney@polsinelli.com

VIA ELECTRONIC MAIL

Frost Brown Todd LLP
Attn: Sloane B. O’Donnell
Union Trust Building
501 Grant Street, Suite 800
Pittsburgh, PA 15219
sodonnell@fbtlaw.com

VIA ELECTRONIC MAIL

Kirkland & Ellis LLP Kirkland & Ellis International LLP
Attn: Steven N. Serajeddini P.C.
601 Lexington Avenue
New York, NY 10022
steven.serajeddini@kirkland.com

VIA ELECTRONIC MAIL

Harris County Attorney’s Office
Susan Fuertes
Attn: Property Tax Division
P.O. Box 2848
Houston, TX 77252
taxbankruptcy.cao@harriscountytx.gov
Case 24-12480-JTD Doc 304

VIA ELECTRONIC MAIL

Office of the United States Trustee for the District of Delaware

Attn: Timothy J. Fox, Esq
844 King Street, Suite 2207

Lockbox 35

Wilmington, DE 19801
timothy.fox@usdoj.gov

VIA ELECTRONIC MAIL

Saul Ewing LLP
Attn: Turner N. Falk
Centre Square West
1500 Market Street, 38th Floor
Philadelphia, PA 19102
turner.falk@saul.com

VIA ELECTRONIC MAIL

ShopCore Properties
Attn: William F, McDonald III
10920 Via Frontera, Suite 220
San Diego, CA 92127
wmcedonald@shopcore.com

VIA ELECTRONIC MAIL

Internal Revenue Service
Centralized Insolvency Operation
1111 Constitution Ave., NW
Washington, DC 20224

VIA ELECTRONIC MAIL

U.S. Attorney for Delaware
Attn: David C. Weiss & Ellen Slights
U.S. Attorney's Office
1313 N Market Street, Suite 400
Wilmington, DE 19801

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VIA ELECTRONIC MAIL

White & Case LLP
Attn: Thomas Lauria
200 South Biscayne Boulevard, Suite 4900
Miami, FL 33131
tlauria@whitecase.com

VIA ELECTRONIC MAIL

Sullivan Hazeltine Allinson LLC
Attn: William A. Hazeltine
919 N. Market Street
Suite 420
Wilmington, DE 19801
whazeltine@sha-llc.com

VIA ELECTRONIC MAIL

Franchise Group, Inc.
Attn: President or General Counsel

VIA ELECTRONIC MAIL

Internal Revenue Service
Centralized Insolvency Operation
P.O. Box 7346
Philadelphia, PA 19101-7346

VIA FIRST CLASS MAIL

Internal Revenue Service
Centralized Insolvency Operation
1111 Constitution Ave., NW
Washington, DC 20224
Case 24-12480-JTD
VIA FIRST CLASS MAIL

Internal Revenue Service
Centralized Insolvency Operation
P.O. Box 7346
Philadelphia, PA 19101-7346

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VIA FIRST CLASS MAIL

U.S. Attorney for Delaware
Attn: David C. Weiss & Ellen Slights
U.S. Attorney's Office
1313 N Market Street, Suite 400
Wilmington, DE 19801
